Case 2:18-cv-00638-SPC-UAM Document 32 Filed 06/21/19 Page 1 of 2 PageID 179



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

JOLEEN DOHERTY and KIMBERLY
COLEMAN,

                Plaintiffs,

v.                                                          Case No.: 2:18-cv-638-FtM-38UAM

GOOD SHEPHERD DAY SCHOOL
OF CHARLOTTE COUNTY, INC.,

                Defendant.
                                                  /

                                       OPINION AND ORDER1

        Before the Court is United States Magistrate Judge Douglas N. Frazier’s Report

and Recommendation. (Doc. 31). Judge Frazier recommends granting in part and

denying in part Plaintiffs Joleen Doherty and Kimberly Coleman’s Motion for an Award of

Attorney’s Fees and Costs (Doc. 21).                  Neither party objects to the Report and

Recommendation, and the time to do so has expired.

        A district judge “may accept, reject, or modify in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). The district

judge “shall make a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.” Id. And “[t]he judge




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Case 2:18-cv-00638-SPC-UAM Document 32 Filed 06/21/19 Page 2 of 2 PageID 180



may also receive further evidence or recommit the matter to the magistrate judge with

instructions.” Id.

       After examining the file independently, and upon considering Judge Frazier’s

findings and recommendations, the Court accepts and adopts the Report and

Recommendation.

       Accordingly, it is now

       ORDERED:

       (1) The Report and Recommendation (Doc. 31) is ACCEPTED and ADOPTED

           and the findings incorporated herein.

       (2) Plaintiffs’ Motion for an Award of Attorney’s Fees and Costs (Doc. 21) is

           GRANTED in part and DENIED in part. The motion is granted in that Plaintiffs

           are AWARDED $525.00 in attorney’s fees and $400.00 in costs. The motion

           is denied in all other respects.

       (3) The Clerk is DIRECTED to enter an amended judgment accordingly.

       DONE and ORDERED in Fort Myers, Florida this 21st day of June 2019.




Copies: All Parties of Record




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